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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 19-60324-CV-MORENO/MAYNARD

  LAWRENCE HENRY PERRY,

                 Petitioner,

  v.

  UNITED STATES OF AMERICA,

              Respondent.
  _________________________________/

            ORDER GRANTING PETITIONER’S ORE TENUS MOTION (DE 15)

         THIS CAUSE is before the undersigned upon the ore tenus Motion made on May 11,

  2021, requesting Petitioner Lawrence Henry Perry (“Petitioner”) be granted access to the

  Corrlinks email messaging system in order to communicate with his attorney in this matter. DE

  15. Upon review of the record, noting that Respondent does not object to the requested relief, and

  being otherwise fully advised, the Court orders as follows.

         Petitioner, proceeding pro se, initiated this matter on February 6, 2019 by filing a Motion

  Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence related to his 2018 criminal

  conviction in this Court. DE 1. Upon review of the Motion, the undersigned determined an

  evidentiary hearing is required as to one of Petitioner’s claims and thus, on April 27, 2021,

  appointed attorney Randee Golder, Esq., to represent Petitioner at all further stages of this

  proceeding. DE 12. During a status conference before this Court on May 11, 2021, Attorney

  Golder requested Petitioner be granted access to the Bureau of Prison’s Corrlinks email system to

  facilitate her communication with her client, who is currently housed at FCI Loretto in Loretto,
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  Pennsylvania. DE 15. As Respondent did not appear at the May 11, 2021 status conference, the

  undersigned ordered a Response be filed as to Petitioner’s request. DE 16.

          In its written Responses, Respondent explains that Petitioner does not presently have access

  to the Corrlinks email system due to the nature of his conviction for attempted coercion and

  enticement of a minor to engage in sexual activity. DE 19 at 4. Respondent states that FCI Loretto,

  where Petitioner is currently housed, has the capability to restrict Petitioner’s access to Corrlinks

  to that of communications with his counsel. Id. So long as Petitioner is limited to communications

  only with his counsel in this case, Respondent does not object to the requested relief. DE 21 at 2.

  Respondent cautions, however, that all Corrlinks communications are monitored such that

  Petitioner can have no expectation of privacy as to any communication on or information stored

  within the system. DE 19 at 3-4.

          Given that Attorney Golder was just appointed to this case, Petitioner is located out of state,

  and an evidentiary hearing has been set in this matter for August 31, 2021, Petitioner and his

  counsel would benefit from being able to correspond electronically. Although Corrlinks does not

  provide a means for confidential communication, it allows Attorney Golder to exchange non-

  privileged information related to the preparation of the case with her client and may assist her in

  scheduling the time and manner of needed privileged conversations.              Accordingly, having

  considered the information provided by the parties and noting that Respondent has no

  objection, it is

          ORDERED AND ADJUDGED that Petitioner’s ore tenus Motion for Access to

  Corrlinks (DE 15) is GRANTED as follows: Petitioner Lawrence Henry Perry shall be granted

  access to the Corrlinks email system for the sole purpose of communicating with his counsel in




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  this case, Randee Golder, Esq., or her office. Petitioner may not have access to Corrlinks for

  any purpose other than communicating with Attorney Golder or her office.

         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 7th day of June, 2021.




                                              ____________________________________
                                              SHANIEK M. MAYNARD
                                              UNITED STATES MAGISTRATE JUDGE




  CC:    Warden
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